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                  EXHIBIT B
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                                                                          Page 1

                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF FLORIDA
                - - - - - - - - - - - - - - - - - - - - x
                IRA KLEIMAN, as the personal
                representative of the Estate of
                David Kleiman and W&K Info Defense
                Research, LLC,

                              Plaintiffs,
                                               CASE NO.:
                      -against-               9:18-CV-80176-BB/BR

                CRAIG WRIGHT,

                              Defendant.

                - - - - - - - - - - - - - - - - - - - - x


                            Zoom video conference deposition of
                       KEVIN MADURA, taken pursuant to notice,
                       was held remotely, commencing April 30,
                       2020, 9:00 a.m., before Leslie Fagin, a
                       Stenographic Court Reporter and Notary
                       Public in the State of New York.

                                            - - -



                                MAGNA LEGAL SERVICES
                         320 West 37th Street, 12th Floor
                            New York, New York 10018
                                  (866) 624-6221




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                                                                          Page 6
           1                        K. Madura
           2    Nakamoto, and reviewing the communications
           3    between Satoshi Nakamoto and various members
           4    of the community at the time.               It's my belief
           5    that Satoshi was the author of the code that
           6    was pushed around this time.
           7           Q.     Why do you say, primary author of
           8    the code?
           9           A.     I am unable to determine whether or
          10    not it was one or multiple individuals who
          11    may have contributed to the code or not.
          12           Q.     So it's possible -- strike that.
          13                  Do you know whether or not Satoshi
          14    Nakamoto is an individual or could have been
          15    a team of individuals?
          16                  MS. MARKOE:        Objection, outside the
          17           scope of the report.
          18           A.     I am unable to make that
          19    determination.
          20           Q.     So it's possible Satoshi Nakamoto
          21    was a team of individuals?
          22                  MS. MARKOE:        Objection, outside the
          23           scope of the report.
          24           A.     Again, by reviewing the
          25    communications, it was always under the




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                                                                          Page 7
           1                         K. Madura
           2    single pseudonym, Satoshi Nakamoto, who was
           3    believed to be the primary author of the code
           4    at the time.
           5           Q.     I'm asking you whether it's
           6    possible that Satoshi Nakamoto was actually a
           7    team of individuals?
           8                  MS. MARKOE:        Objection, outside the
           9           scope of the report.
          10           A.     I'm unable to make that
          11    determination.
          12                  MR. FREEDMAN:         I would ask you to
          13           keep your objection to form.
          14                  MS. MARKOE:        I'm allowed to state
          15           my basis for my objection.
          16                  MR. FREEDMAN:         You are only
          17           supposed to say objection to form and I
          18           would appreciate it if you keep it that
          19           way.
          20           Q.     Mr. Madura, you are aware that
          21    Gavin Andresen gave deposition testimony in
          22    this case and you have reviewed his
          23    deposition, is that correct?
          24           A.     Yes.
          25           Q.     And do you recall that Mr. Andresen




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                                                                         Page 14
           1                        K. Madura
           2           this line of questioning because you are
           3           showing him a single page of a website
           4           that clearly has more than one page.
           5           Q.     Mr. Madura, are you saying that you
           6    incorporated the entire Satoshi Nakamoto
           7    Institute -- strike that.
           8                  Mr. Madura, as I read your footnote
           9    1, it says, Satoshi Nakamoto Institute at,
          10    and you give a specific URL.
          11                  Are you now saying you relied on
          12    the entire Satoshi Nakamoto website?
          13                  MS. MARKOE:        Objection.
          14           A.     I reviewed multiple communications
          15    from the Nakamoto Institute for my report.
          16           Q.     Part of the rules in litigation is
          17    that you need to tell me which documents you
          18    relied on.
          19                  You told me you relied on footnote
          20    1, so that is fair.           I don't see where you
          21    are telling me you relied on other
          22    communications and to the extent you have, I
          23    need to know which communications those are.
          24                  So can you tell me which exact
          25    communications you relied on to make that




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                                                                         Page 42
           1                        K. Madura
           2    have contributed to the Bitcoin code base?
           3                  MS. MARKOE:        Objection.
           4           A.     I don't think that's impossible.
           5           Q.     So it could be that someone who had
           6    less than a bachelor's degree in computer
           7    science would have sufficient ability to
           8    contribute meaningfully to the Bitcoin code
           9    bit?
          10                  MS. MARKOE:        Objection.
          11           A.     It would be inconsistent with my
          12    assessment of the complexity of the Bitcoin
          13    code as it stood.
          14           Q.     So I'm confused now.           Is it minimum
          15    requirement to contribute meaningfully to the
          16    Bitcoin code base, a bachelor's in computer
          17    science or not?
          18           A.     I haven't determined a minimum
          19    requirement for contribution to the code,
          20    only that it's -- the background required
          21    would be consistent with someone or --
          22    someone with extensive experience in computer
          23    programming.
          24           Q.     Mr. Madura, you are aware that Bill
          25    Gates dropped out of college, right?




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                                                                         Page 47
           1                        K. Madura
           2    be consistent with the ability to develop
           3    complex codes such as Bitcoin.
           4           Q.     You just said you looked at his
           5    background as a whole, but you didn't look at
           6    his background as a whole because you didn't
           7    rule out the possibility that he attended
           8    course on programming?
           9                  MS. MARKOE:        Objection.
          10           Q.     Isn't that right?
          11           A.     Can you repeat the question?
          12           Q.     You said you reviewed his
          13    background as a whole, but, in fact, you
          14    didn't, because you just told me you rule out
          15    the possibility that he attended a course on
          16    programming at some point before 2008?
          17                  MS. MARKOE:        Objection.
          18           A.     I reviewed the materials indicated
          19    in my report to determine whether or not his
          20    professional experience is consistent with
          21    the skills required to develop a complex
          22    piece of software such as Bitcoin.
          23           Q.     How did you rule out the
          24    possibility that he used the internet or
          25    YouTube to teach himself how to code?




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                                                                         Page 48
           1                        K. Madura
           2                  MS. MARKOE:        Objection.
           3           A.     That would be highly inconsistent
           4    with his professional experience.
           5           Q.     His professional experience --
           6    strike that.
           7                  It would be highly inconsistent
           8    that he went and learned how to code on
           9    publicly available websites?
          10                  MS. MARKOE:        Objection.
          11           A.     Again, in reviewing testimony from
          12    colleagues, it was apparent that he didn't
          13    know how to code very well.
          14           Q.     What was the timeframe for those
          15    statements?
          16           A.     I don't recall specifically.
          17           Q.     How do you know he didn't attend
          18    the programming course off those statements
          19    that were made by his colleagues or I believe
          20    colleague?
          21           A.     Could you repeat the question?
          22           Q.     How did you rule out the -- let me
          23    take a step back.
          24                  Are you referring to the testimony
          25    of Kimon Andreou?




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                                                                         Page 58
           1                         K. Madura
           2           A.     Yes.
           3           Q.     So you can't really testify what
           4    Dave Kleiman's skills and experiences were,
           5    you really can only testify to what his
           6    published or advertised skills and experience
           7    were, correct?
           8                  MS. MARKOE:        Objection.
           9           A.     I reviewed the materials referenced
          10    in my report to determine whether or not his
          11    skill set was consistent with the skills
          12    required to create a complex piece of
          13    software such as Bitcoin.
          14           Q.     It's not really a skill set, you
          15    reviewed his publicly available skill set or
          16    his published skill set?
          17                  MS. MARKOE:        Objection.
          18           A.     Which, from my understanding, would
          19    be a fair representation of his skill set.
          20           Q.     But, in fact, it was just his
          21    published and advertised skills, correct?
          22                  MS. MARKOE:        Objection.
          23           A.     From what I can tell, yes.
          24           Q.     You don't have any personal
          25    knowledge of what his actual skills were?




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                                                                         Page 60
           1                        K. Madura
           2    in review of his background, as compared to
           3    the skills and background required to develop
           4    the Satoshi code that I reviewed.
           5            Q.     So have you ever taken any training
           6    in assessing ability of programmers?
           7                   MS. MARKOE:       Objection.
           8            A.     My professional background has
           9    prepared me well to understand this type of
          10    material and I regularly review code to
          11    determine the skills of programmers in
          12    regards to their ability to prevent the
          13    inclusion of security vulnerabilities into
          14    their code.
          15            Q.     I asked if you took any formal
          16    training on assessing the ability of
          17    programmers?
          18                   MS. MARKOE:       Objection.
          19            A.     I'm not aware of formal training
          20    that's that specific.
          21            Q.     Have you ever reviewed the
          22    qualifications of a programmer and opined,
          23    prior to this report, that they were not
          24    capable of executing a certain task?
          25                   MS. MARKOE:       Can you repeat the




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                                                                         Page 61
           1                          K. Madura
           2            question?
           3            Q.     Prior to this report, have you ever
           4    assessed the capabilities of a programmer and
           5    opined that they were not capable of
           6    performing a certain programming task?
           7                   MS. MARKOE:        Objection.
           8            A.     Yes.
           9            Q.     When?
          10            A.     During my time at IBM, I was the
          11    cybersecurity expert that would opine on the
          12    programming abilities of certain programmers
          13    to determine whether or not they were --
          14    whether they should be allowed to manipulate
          15    certain parts of the code base.
          16            Q.     So you offered recommendations to
          17    your employer about who they should and
          18    should not utilize, is that correct?
          19            A.     For specific parts of the code
          20    base, that's correct.
          21            Q.     But you never opined, formally, an
          22    opinion that they are not capable of doing
          23    this task, did you?
          24                   MS. MARKOE:        Objection.
          25            A.     I provided my opinion as to their




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                                                                         Page 62
           1                        K. Madura
           2    ability to adequately protect the system and
           3    code in a way that was congruent with what my
           4    employer was intending to create.
           5            Q.     You made a judgment call about who
           6    should and should not manipulate your
           7    employer's code?
           8                   MS. MARKOE:       Objection.
           9            A.     Certain parts of the code, that's
          10    correct.
          11            Q.     Have you ever issued a formal
          12    opinion that someone is incapable of doing
          13    certain programming work?
          14                   MS. MARKOE:       Objection.
          15            A.     I have offered my opinion in
          16    regards to the competency of specific
          17    programmers, yes.
          18                   MS. MARKOE:       Can we take a break
          19            now?
          20                   (Recess.)
          21            Q.     Mr. Madura, can you explain to me
          22    the methodology you used to determine whether
          23    or not Dave Kleiman's skill set would be
          24    highly consistent with the ability to program
          25    the Bitcoin code base?




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                                                                         Page 69
           1                        K. Madura
           2            A.     That's my opinion, yes.
           3            Q.     Could that be one of the reasons
           4    why he didn't include C++ coding
           5    qualifications on his forensic investigator
           6    resume or reports?
           7                   MS. MARKOE:       Objection.
           8            A.     I couldn't speak to the state of
           9    mind of Dave Kleiman at the time of why he
          10    would or wouldn't include a specific skill as
          11    part of his resume.
          12            Q.     But it's possible, right?
          13                   MS. MARKOE:       Objection.
          14            A.     Again, I can't speak to his state
          15    of mind at the time.
          16            Q.     Is it impossible?
          17                   MS. MARKOE:       Objection.
          18            A.     It's not impossible.
          19            Q.     It's, like, why list it if you are
          20    not selling it, that's the point I'm trying
          21    to get across.         Do you understand what I'm
          22    saying?
          23                   MS. MARKOE:       Objection.
          24            A.     In my review of his background, he
          25    listed many different certifications.                   I




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                                                                         Page 70
           1                        K. Madura
           2    found it reasonable to expect if he had
           3    earned some type of certification or had the
           4    ability to demonstrate his capabilities in
           5    programming specifically within C++, he would
           6    have advertised that as such.
           7            Q.     Didn't all the certifications he
           8    have relate to his forensic investigative
           9    business?
          10            A.     If I recall correctly, not all of
          11    them did, no.
          12            Q.     And when I say, forensic
          13    investigative business, I mean all of the
          14    services he offered through his forensic
          15    investigative business, network security and
          16    all of that stuff.
          17            A.     Could you repeat the question?
          18            Q.     Strike the question.
          19                   We will look at certifications.
          20                   Mr. Madura, isn't it possible that
          21    Dave Kleiman was decent at coding, but
          22    because he didn't have the degree and wasn't
          23    a professional, he didn't want to list it on
          24    his business facing resume?
          25                   MS. MARKOE:       Objection.




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                                                                         Page 80
           1                        K. Madura
           2            A.     I don't know much about Satoshi
           3    Nakamoto, so that's possible.
           4            Q.     Mr. Madura, you reviewed a report
           5    that Dave Kleiman issued in the Lighthouse
           6    Investment Partners versus Stacey Tenant
           7    (phonetic) case.
           8                   Do you remember that?
           9            A.     I do.
          10            Q.     You said it didn't reference C++
          11    coding, correct?
          12            A.     Correct.
          13            Q.     Was C++ coding relevant to that
          14    report?
          15                   MS. MARKOE:       Objection.
          16            A.     I don't believe so.
          17            Q.     Could that be why he didn't mention
          18    any C++ coding expertise?
          19                   MS. MARKOE:       Objection.
          20            A.     In describing his background, David
          21    Kleiman didn't mention anything about
          22    computer programming or C++ experience.
          23            Q.     Because it wasn't relevant to the
          24    report, right?
          25                   MS. MARKOE:       Objection.




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                                                                         Page 81
           1                        K. Madura
           2            A.     I'm not sure of the specifics of
           3    the intention, but that's correct, yes.
           4            Q.     Mr. Madura, you reviewed the
           5    deposition of Kimon Andreou, right?
           6            A.     I did.
           7            Q.     In that deposition, Mr. Andreou
           8    says that Dave was familiar with computer
           9    programming or he could dabble, but was not a
          10    programmer.
          11                   Do you recall that testimony?
          12                   MS. MARKOE:       Objection.
          13            A.     I don't recall that specific line.
          14            Q.     Let's see if we can get it for you.
          15    I will try to share with you the deposition
          16    of Mr. Andreou.
          17                   MR. FREEDMAN:        Are we on No. 4?
          18                   (Exhibit 4, marked for
          19            identification.)
          20            Q.     This is the deposition of Kimon
          21    Andreou.
          22                   Is this the deposition you
          23    reviewed?
          24            A.     I believe so.        I can't be exactly
          25    certain without comparing the documents.




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                                                                         Page 91
           1                        K. Madura
           2    coding capability, isn't it?
           3                   MS. MARKOE:       Objection.
           4            A.     I'm not aware whether he did or did
           5    not.
           6            Q.     It's possible he did, correct?
           7                   MS. MARKOE:       Objection.
           8            A.     I suppose it's possible, yes.
           9            Q.     Mr. Madura, I'm going to share with
          10    you, I think now we are on Exhibit 5.                   It's a
          11    document produced in this litigation, Bates
          12    labeled Defense Australia 11 -- actually, for
          13    the record, it's Defaus, underscore,
          14    00115950.
          15                   (Exhibit 5, marked for
          16            identification.)
          17            Q.     Did you review this document in
          18    preparing your report?
          19            A.     Not that I recall.
          20            Q.     I will bring you down to the middle
          21    of this document.
          22                   Do you see an email on March 7,
          23    2014 from Craig Wright, craig@rcjbr.org?
          24            A.     I see that on the screen, yes.
          25            Q.     Can you read this email for me for




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                                                                        Page 145
           1                        K. Madura
           2            Q.     Sitting here today, can you recall
           3    anything that you examined prior to the
           4    drafting of Mr. White's report?
           5                   MS. MARKOE:       Objection.
           6            A.     Not specifically, no, it's been
           7    different things.
           8            Q.     What about generally?
           9            A.     Generally, I provided my technical
          10    opinion regarding various data.
          11            Q.     And so I'm trying to -- just so you
          12    understand what I'm trying to get at, is you
          13    submitted two expert reports here, you've
          14    identified materials you reviewed.                  So I'm
          15    trying to understand just what other
          16    materials, if any, in this litigation, you
          17    reviewed.       So you provided services prior to
          18    the issuing of the expert report.
          19                   I'm trying understand, sitting here
          20    today, can you recall the details of any of
          21    those services and the documents you may or
          22    may not have examined?
          23                   MS. MARKOE:       Objection.
          24            A.     I can't recall any specific
          25    documents.        I would have to review a list of




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                                                                        Page 148
           1                        K. Madura
           2    determine whether Mr. Antonopoulos was
           3    completely accurate in describing the Bitcoin
           4    system and what he noted in his report and
           5    then the supporting evidence and anything
           6    supporting my observations.
           7            Q.     So let me -- the materials
           8    considered list, you only identified
           9    documents that related to your opinion?
          10            A.     That's right.
          11            Q.     And not other documents you
          12    reviewed in this litigation?
          13            A.     That's right.
          14            Q.     What was the basis for you
          15    believing that was the correct way to
          16    identify the materials you considered for
          17    purposes of identifying in your report?
          18            A.     Could you repeat the question?
          19                   MS. MARKOE:       Objection.
          20            Q.     Do you understand that in
          21    submitting an expert report, there is a duty
          22    to identify the materials you considered?
          23            A.     I understand that.
          24            Q.     What is your -- what's the basis
          25    for your understanding what materials to




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                                                                        Page 169
           1                        K. Madura
           2            Q.     Mr. Madura, sitting here today, do
           3    you recall the substance of the consulting
           4    work you have performed in this case?
           5                   MS. MARKOE:       Objection, and I
           6            instruct him not to answer.
           7            Q.     Mr. Madura, do you recall
           8    approximately how much time you have spent in
           9    relation to the consulting work you have
          10    performed in this case?
          11                   MS. MARKOE:       Objection.
          12                   I'm going to instruct him not to
          13            answer.
          14                   I'm instructing you not to answer.
          15            Q.     Mr. Madura, did you perform any
          16    work in your context -- in your role as a
          17    consultant in the month of April related to
          18    this case?
          19                   MS. MARKOE:       Objection.       Give me a
          20            second.     Just give me one second.             I'm
          21            trying to make a decision.
          22                   Can you repeat the question?
          23                   (Record read.)
          24                   MS. MARKOE:       He can answer that
          25            question.      Sorry, it's going to be




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                                                                        Page 170
           1                        K. Madura
           2            question by question, Kyle.              I'm not
           3            trying to be difficult.
           4                   MR. ROCHE:       Understood.
           5            A.     I believe I have.
           6            Q.     Approximately how much time?
           7            A.     I don't know for certain.             Not
           8    much, considering most of my time was spent
           9    on these reports.
          10            Q.     In connection with the work you
          11    performed this month in your role as a
          12    consultant, what was the nature of that work?
          13                   MS. MARKOE:       Objection.
          14                   I'm going to instruct him not to
          15            answer.
          16            Q.     Did you do any work in your role as
          17    a consultant in March?
          18            A.     Role as a consultant?
          19                   MS. MARKOE:       Objection.
          20                   You can answer.
          21            A.     I don't recall.           I would have to
          22    look at my timesheet history.
          23            Q.     Did you perform any work in your
          24    role as a consultant in February?
          25                   MS. MARKOE:       Objection.




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                                                                        Page 171
           1                        K. Madura
           2                   You can answer.
           3            A.     I don't recall.           I would have to
           4    look at my timesheets again.
           5            Q.     Did you perform any work in your
           6    role as a consultant in January?
           7                   MS. MARKOE:       Objection.
           8                   You can answer.
           9            A.     I don't believe so.           I was away and
          10    out of the country for most of January.
          11            Q.     Did you perform -- last one of
          12    these questions.
          13                   Did you perform any work in your
          14    role as a consultant in December of 2019?
          15                   MS. MARKOE:       Objection.
          16                   You can answer.
          17            A.     Likely, yes, although I'm not
          18    particularly sure how much or if I have it
          19    all.
          20            Q.     What is the basis for you thinking
          21    it's likely?
          22            A.     Because most of my --
          23                   MS. MARKOE:       Objection.
          24            A.     Because most of my time recently
          25    has been spent on the written reports.




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                                                                        Page 172
           1                        K. Madura
           2            Q.     When was the first time you did
           3    work in your role as a consultant on this
           4    litigation?
           5                   MS. MARKOE:       Can you repeat the
           6            question?
           7                   (Record read.)
           8                   MS. MARKOE:       I'm going to object,
           9            but you can answer as to the when.
          10            A.     I don't know for certain.             Sometime
          11    in 2019, early 2019.
          12            Q.     Could it have been 2018?
          13                   MS. MARKOE:       Objection, but you can
          14            answer.
          15            A.     It could have been, I don't recall.
          16            Q.     Did any of the work you performed
          17    as a consultant in any way relate to your
          18    testimony as an expert?
          19                   MS. MARKOE:       Objection.
          20                   You can answer.
          21            A.     Not as it pertains to the drafting
          22    of the report.         They may share similarities
          23    in the technical understanding of certain
          24    topics.
          25            Q.     Have you reviewed the complaint in




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                                                                        Page 173
           1                        K. Madura
           2    this case?
           3            A.      I have.
           4            Q.      In your own words, what is this
           5    lawsuit about?
           6                    MS. MARKOE:      Objection, outside the
           7            scope, relevance.
           8            Q.      You can answer.
           9            A.      It's been a while since I reviewed
          10    it.
          11            Q.      Not the complaint.         Let me strike
          12    that.        I'm not asking about the complaint.
          13                    In your own words, what is the
          14    nature of this lawsuit about?
          15                    MS. MARKOE:      Objection, again,
          16            outside the scope and relevance.
          17                    You can answer.
          18            A.      My understanding is plaintiffs are
          19    alleging that a total sum of Bitcoin assets
          20    should be split evenly between two parties.
          21            Q.      Did any of the work you reviewed in
          22    connection as a consultant inform your
          23    understanding of what this lawsuit is about?
          24                    MS. MARKOE:      Objection.
          25                    You can answer, if you can.




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           1                        K. Madura
           2            A.     Can you repeat the question?
           3            Q.     Can you please repeat the question?
           4                   (Record read.)
           5            A.     It likely increased my
           6    understanding of it vaguely, yes.
           7            Q.     What do you mean by -- why do you
           8    say, vaguely?
           9            A.     I can't pinpoint a specific
          10    instance of a clarity in my understanding.
          11            Q.     But you reviewed documents and
          12    facts about this litigation?
          13                   MS. MARKOE:       Objection.       Can you --
          14            I'm not trying to tell you how to ask
          15            your questions.         I'm trying to get you
          16            information you are entitled to.
          17                   Can you ask that question just a
          18            little more specifically, because it was
          19            really broad.
          20            Q.     Did you review documents -- strike
          21    that.
          22                   Did you perform -- strike that.
          23                   Did you review documents
          24    relating -- in your role as a consultant,
          25    relating to the facts of this litigation?




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                                                                        Page 178
           1                        K. Madura
           2    controlled by Craig Wright.
           3            Q.     Have you reviewed any evidence
           4    identifying any Bitcoin owned by Craig Wright
           5    in your role as a consultant?
           6                   MS. MARKOE:       I'm going to instruct
           7            him not to answer that.
           8            Q.     Have you reviewed any evidence
           9    showing Craig Wright as the creator of
          10    Bitcoin?
          11                   MS. MARKOE:       You are asking these
          12            questions so broadly, I can't tell if
          13            you are asking in connection with the
          14            reports.
          15                   In which case, he can answer
          16            because it's in connection with the
          17            reports.
          18                   MR. ROCHE:       Are you instructing me
          19            not to ask broad questions?
          20                   MS. MARKOE:       We are here to talk
          21            about his expert reports.             His
          22            deposition about his proposed trial
          23            testimony as laid out in his expert
          24            reports.      It is not about anything under
          25            the sun that he is not going to be




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                                                                        Page 183
           1                        K. Madura
           2            this case, regardless of whether as
           3            expert or consulting and I will continue
           4            to ask my questions and to the extent
           5            you are going to instruct him not to
           6            answer because you think it's a
           7            privilege, I will move on to my next
           8            question.      If you want to let me ask the
           9            question, I will then proceed with the
          10            question.
          11                   MS. MARKOE:       You are not giving me
          12            a position.       That's fine.        Ask your
          13            question and I think I will have to
          14            instruct you not to answer.
          15            Q.     I, myself, don't recall what the
          16    question was.         I will ask you again.           Have
          17    you reviewed any evidence related to Dave
          18    Kleiman's role in the creation of Bitcoin in
          19    the context of this litigation?
          20            A.     As it relates to the preparation of
          21    my report, I reviewed, again, the lists that
          22    are marked DK and CW, that would imply Craig
          23    Wright and Dave Kleiman as part of lists of
          24    the original My Bitcoin.
          25            Q.     Have you reviewed emails from Dave




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                                                                        Page 184
           1                        K. Madura
           2    Kleiman in the context of this litigation?
           3                   MS. MARKOE:       Objection.
           4                   You can answer, to the extent it
           5            relates to your reports.
           6            A.     I don't recall reviewing specific
           7    emails from Dave Kleiman in connection with
           8    the drafting of my reports.
           9            Q.     Did you -- and in the context of
          10    your consulting work, did you review emails
          11    from Dave Kleiman?
          12                   MS. MARKOE:       Objection.
          13                   I instruct you not to answer.
          14            Q.     Did you review emails from Craig
          15    Wright in the context of this litigation?
          16                   MS. MARKOE:       Objection.
          17            A.     I don't recall reviewing specific
          18    emails from Craig Wright in connection with
          19    drafting my reports.
          20            Q.     Did you review communications from
          21    Craig Wright in your capacity as a consulting
          22    expert in this litigation?
          23                   MS. MARKOE:       I'm going to instruct
          24            him not to answer.
          25            Q.     Based on the evidence you reviewed,




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                                                                        Page 185
           1                        K. Madura
           2    is Craig Wright the creator of Bitcoin?
           3                   MS. MARKOE:       Objection, outside the
           4            scope of the reports.
           5            A.     I don't have an opinion as to
           6    whether or not he is or is not.
           7            Q.     Have you reviewed evidence in the
           8    capacity as a consulting expert related to
           9    Craig Wright's involvement in the creation of
          10    Bitcoin?
          11                   MS. MARKOE:       I'm going to instruct
          12            him not to answer it as it relates to
          13            consulting.
          14            Q.     Have you reviewed any evidence
          15    identifying any Bitcoin owned by Dave
          16    Kleiman?
          17                   MS. MARKOE:       Objection.
          18                   You can answer, as it relates to
          19            the reports.
          20            A.     Again, I reviewed the lists as
          21    identified by Mr. Antonopoulos, including the
          22    DK list, which is implied to represent Dave
          23    Kleiman, but haven't made a determination as
          24    to whether or not Dave Kleiman owns or owned
          25    that Bitcoin.




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                                                                        Page 186
           1                        K. Madura
           2            Q.     Did you review any evidence related
           3    to Dave Kleiman's ownership of Bitcoin in
           4    your role as a consulting expert?
           5                   MS. MARKOE:       Objection.
           6                   I'm going to instruct him not to
           7            answer, to the extent it relates to
           8            consulting issues.
           9            Q.     Have you examined any data related
          10    to Dave Kleiman's electronic devices?
          11                   MS. MARKOE:       Objection, outside the
          12            scope of his report.
          13            Q.     You can answer.
          14            A.     In preparation for the reports
          15    here, I haven't reviewed any electronic
          16    devices of Dave Kleiman's.
          17            Q.     In your role as a consulting
          18    expert, did you review any of Dave Kleiman's
          19    electronic devices?
          20                   MS. MARKOE:       I'm instructing him
          21            not to answer as it relates to any
          22            consulting work that he did.
          23            Q.     I will tweak that question.
          24                   In your role as a consulting
          25    expert, did you review any of the electronic




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                                                                        Page 187
           1                        K. Madura
           2    -- any of the data on Dave Kleiman's
           3    electronic devices?
           4                   MS. MARKOE:       Objection, outside the
           5            scope, and also, I'm going to instruct
           6            you not to answer relating to any
           7            consulting work that you did.
           8            Q.     What is BSV?
           9            A.     BSV, as I understand it, within the
          10    context of Bitcoin, is referred to as Bitcoin
          11    Satoshi Vision.
          12            Q.     What is -- does Bitcoin SV relate
          13    to your expert report?
          14            A.     My expert report was a rebuttal to
          15    Mr. Antonopoulos' report.                I don't recall if
          16    it mentioned Bitcoin SV by name or not.
          17            Q.     Because Bitcoin SV -- strike that.
          18                   MS. MARKOE:       Can we actually take
          19            like a five, 10-minute break, like
          20            restroom and refreshments?
          21                   MR. ROCHE:       Sure.      2:15, come back.
          22                   (Recess.)
          23                   MS. MARKOE:       Kyle, we did some
          24            quick and dirty research, but the
          25            research that we have done supports my




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                                                                        Page 188
           1                        K. Madura
           2            position that in his consulting
           3            capacity, to the extent it relates or
           4            would have intentionally informed his
           5            opinions as they relate to his expert
           6            testimony, expert testifying testimony,
           7            you are entitled to that, but you are
           8            not entitled to everything.
           9                   So the final offer I'm making is,
          10            and I can send you those cases or give
          11            you those case citations and you can
          12            have your people check those out, but
          13            what we can do, I don't want to -- I
          14            don't expect you to take my word for it
          15            and I won't take your word for it, but
          16            if you let me do what I think the right
          17            thing to do is, based on my experience
          18            on the case law that I have seen thus
          19            far, like I said, it's not exhaustive,
          20            where I will allow him to disclose
          21            information regarding his consulting
          22            services, to the extent that they could
          23            have any relationship to the reports,
          24            then I will do that.
          25                   And, you know, with no prejudice to




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                                                                        Page 189
           1                        K. Madura
           2            your position, but if your position is
           3            going to be that I'm completely wrong
           4            and it's going to be a waiver, then I
           5            will still let him do it, if you will
           6            allow me to use a clawback, to clawback
           7            that testimony, to the extent that my
           8            reading of this case law is wrong and
           9            you are right and it's a whole waiver
          10            because I don't want to do a whole
          11            waiver, but I also don't want to be in a
          12            position where, you know, I think that
          13            if there is some information that you
          14            are entitled to, but under the threat of
          15            a complete waiver, I can't share that
          16            with you without some sort of a clawback
          17            or assurance from you.
          18                   Does that make sense?
          19                   MR. ROCHE:       I am willing -- to the
          20            extent you allow him to answer, I am
          21            willing to let you agree that if you
          22            later determine or the court later
          23            determines that that is the information
          24            he revealed was privileged, then I agree
          25            with your right to reserve.




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           1                        K. Madura
           2                   Information he discloses, when you
           3            make an objection with respect to
           4            privilege, if you just preserve the
           5            objection and let him answer, I'm
           6            willing to let you preserve that right.
           7                   MS. MARKOE:       That's fine.        I will
           8            make the objection and say, essentially,
           9            based on my understanding of case law, I
          10            am preserving my objection in case I am
          11            wrong, but he can answer in case I'm
          12            right because it does relate and I will
          13            still instruct him not to answer because
          14            I think it really goes way out beyond
          15            the privilege.
          16                   MR. ROCHE:       Why don't we come up
          17            with some better shorthand.              If you are
          18            going to instruct him not to answer,
          19            objection, not answer.            If you are going
          20            to reserve a privilege, just objection,
          21            privilege, you may answer.
          22                   MS. MARKOE:       So here is what I can
          23            tell you, is that you asked two
          24            questions.       I believe one was about
          25            anything that he reviewed as a




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           1                        K. Madura
           2                   MS. MARKOE:       No, it was to the
           3            extent that it related to his consulting
           4            work, I can't remember exactly how you
           5            framed the question, to be honest, but
           6            it was something, I think, related to
           7            the DK and CW lists.
           8                   MR. ROCHE:       Questions I have asked
           9            about Dave Kleiman, I will go back and
          10            ask those.
          11                   With respect to questions related
          12            to Mr. Antonopoulos, I will go back and
          13            ask him those questions.
          14                   Do you stand on your objection for
          15            all the other questions I've asked him?
          16                   MS. MARKOE:       For the time being,
          17            since I don't recall all of them, I
          18            think my answer has to be yes.
          19                   I'm just trying to get to where I
          20            think his consulting work could have had
          21            some relationship or informed any of his
          22            opinions or work or conclusions related
          23            to his expert reports, that I think you
          24            are entitled to, so those topics, you
          25            can ask again with this understanding




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           1                        K. Madura
           2            and I can have someone shoot you some of
           3            the cases.
           4                   I think one of them is called
           5            Monsanto and it's 214 FRD.             I just have
           6            a short cite for it right now, which is
           7            547, and I have not read the cases in
           8            their entirety.
           9                   There are two quotes.           One is, A
          10            court should order disclosure when there
          11            is an ambiguity as to whether the
          12            material informs the expert's opinion.
          13                   If the subject matter directly
          14            relates to the opinion in the expert
          15            report, there will be at least an
          16            ambiguity as to whether the materials
          17            inform the expert's opinion and
          18            consulting materials should be
          19            disclosed.
          20                   There is another case that says --
          21            hold on -- so that's some of the quick
          22            and dirty research we have done so far.
          23                   MR. ROCHE:       As I understand it --
          24                   MS. MARKOE:       I'm trying to see --
          25                   MR. ROCHE:       If there is an




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           1                        K. Madura
           2            want to take this to 8:00 tonight.
           3                   And, of course, if you make an
           4            objection without an instruction to
           5            answer, I will allow you to reserve all
           6            rights, including the clawback.
           7                   MS. MARKOE:       Can you repeat the
           8            question?
           9            Q.     Have you reviewed any evidence
          10    relating to Craig Wright's programming
          11    skills?
          12                   MS. MARKOE:       Objection, outside the
          13            scope.
          14            Q.     You can answer.
          15            A.     I haven't reviewed any materials in
          16    connection with the drafting of either report
          17    regarding Craig Wright's programming skills
          18    specifically or made a determination as to
          19    what that evidence might be.
          20            Q.     Have you reviewed any evidence in
          21    your capacity as a consultant relating to
          22    Craig Wright's coding skills?
          23                   MS. MARKOE:       Objection.
          24                   Instruct you not to answer.
          25                   MR. ROCHE:       Ms. Markoe, do you




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           1                        K. Madura
           2            ambiguity, you will allow him to answer
           3            the question?
           4                   MS. MARKOE:       If there is an
           5            ambiguity as to whether as a consulting
           6            expert could have informed his opinions
           7            as a testifying expert, then, yes, but I
           8            think that it has to have a relationship
           9            to his expert testimony.
          10                   MR. ROCHE:       But if there is any
          11            ambiguity --
          12                   MS. MARKOE:       It can't be on a
          13            general side issue.
          14                   MR. ROCHE:       What does the case --
          15                   MS. MARKOE:       I agree, but I'm
          16            saying, I will tell you if I think there
          17            is legitimately any ambiguity, you and I
          18            can have a difference of opinion on
          19            that, but I'm going to be as -- I'm
          20            going to give it my best legitimate
          21            effort as to whether or not I
          22            legitimately think there is an ambiguity
          23            and give you that information under the
          24            conditions that we have discussed.
          25                   MR. ROCHE:       Ready?




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           1                        K. Madura
           2            think -- what's the basis for that?                 I
           3            believe that would be ambiguous as to at
           4            least at --
           5                   MS. MARKOE:       His opinion -- none of
           6            his opinions have anything to do with
           7            whether or not Craig Wright is Satoshi
           8            Nakamoto, whether Craig Wright drafted
           9            the White paper, whether or not Craig
          10            Wright did the Bitcoin code, whether or
          11            not Craig Wright did any coding, that's
          12            not in the scope of his report.
          13            Q.     Mr. Madura, have you reviewed any
          14    evidence to suggest whether or not Mr.
          15    Kleiman was a better coder than Mr. Wright?
          16    You can answer.
          17                   MS. MARKOE:       I'm objecting.
          18                   You can answer.
          19            A.     I haven't qualified or formed an
          20    opinion as to what evidence that would be, so
          21    I don't know if I have reviewed that or not.
          22            Q.     Is there evidence you reviewed in
          23    this litigation?          Are there documents you
          24    reviewed in Relativity relevant to Dave
          25    Kleiman's expertise as a coder?




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                                                                        Page 201
           1                        K. Madura
           2                   MS. MARKOE:       Objection.
           3                   You can answer.
           4            A.     As it pertains to my affirmative
           5    report --
           6            Q.     I'm asking, period, have you
           7    reviewed documents?           I'm asking, have you
           8    reviewed documents in Relativity that relate
           9    to Dave Kleiman's expertise as a coder?
          10                   MS. MARKOE:       Objection.
          11                   You can answer.
          12            Q.     All documents?
          13            A.     I don't recall specifically either
          14    way if I have reviewed evidence that would be
          15    that specific, I'm not sure.
          16                   MR. ROCHE:       Ms. Markoe, I'm going
          17            to make a request on the record for all
          18            documents Mr. Madura has reviewed in the
          19            context of this litigation.              I
          20            understand that Relativity allows you to
          21            export that and so that we can, and I'm
          22            reserving a right to take a further
          23            deposition upon review of that evidence.
          24                   MS. MARKOE:       I'm objecting to that
          25            request now because every document that




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           1                        K. Madura
           2            Mr. Madura may or may not have reviewed
           3            on Relativity does not have any
           4            relationship to this -- to whether or
           5            not -- let me restart.            I apologize.
           6            I'm going to object to that because
           7            every single document that Mr. Madura
           8            may or may not have reviewed on
           9            Relativity does not pertain to his
          10            testimony as a testifying expert or his
          11            opinions as a testifying expert.
          12                   If there is anything that he
          13            reviewed that could have informed or
          14            did, in fact, inform his opinions, then
          15            we can discuss that issue more
          16            specifically, but your request for all
          17            documents that Mr. Madura has reviewed
          18            on Relativity for any purpose whatsoever
          19            is something that we will be objecting
          20            to and we will not produce to you and we
          21            will not provide that information.
          22            Q.     Have you reviewed any evidence
          23    relating to Dave -- strike that.
          24                   Have you reviewed any evidence
          25    related to Dave Kleiman's electronic devices?




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           1                        K. Madura
           2    Craig Wright and Ira Kleiman, correct?
           3            A.     It appears to be a document showing
           4    that.
           5            Q.     And in it, they're discussing
           6    Satoshi Nakamoto and Craig and Dave's
           7    potential collaboration within that creation
           8    of Bitcoin, correct?
           9                   MS. MARKOE:       Objection.       The
          10            document speaks for itself.
          11            A.     It appears that way, I believe.
          12            Q.     And then in this particular email,
          13    Craig Wright says, He has math skills and
          14    some coding, frankly, was crud, but then he
          15    says, Dave could edit his way through hell
          16    and back.
          17                   Do you see that?
          18            A.     I do.
          19            Q.     You relied on Kimon Andreou's
          20    statements in assessing Dave Kleiman's
          21    capabilities.          Why didn't you rely on Craig
          22    Wright's statements?
          23                   MS. MARKOE:       Objection.
          24            A.     I didn't review every single
          25    communication between the two.




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           1                        K. Madura
           2            Q.     Now that you know Craig Wright has
           3    said Dave Kleiman can edit his way through
           4    hell and back, do you want to edit your
           5    opinion on Dave Kleiman's skill set?
           6                   MS. MARKOE:       Objection.
           7            A.     The text here doesn't impact my
           8    conclusions or opinions, no.
           9            Q.     You don't now think Dave was able
          10    to edit code?
          11                   MS. MARKOE:       Objection.
          12            A.     It's not clear to me that it's
          13    referring to editing words or code or what,
          14    I'm not sure.
          15            Q.     He said, I have math skills and
          16    some coding, which was, frankly, crud, but
          17    better than some, but, really, Dave could
          18    edit his way through hell and back.
          19                   How do you read that as anything
          20    other than editing code?
          21                   MS. MARKOE:       Objection.
          22            A.     Again, I'm not necessarily sure
          23    what it's referring to.
          24            Q.     If it's referring to code, would
          25    that undermine your opinion?




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           1                        K. Madura
           2                   MS. MARKOE:       Objection.
           3            A.     The text on the screen, again,
           4    doesn't undermine opinions.
           5            Q.     But if that statement that Dave
           6    could edit his way through hell and back was
           7    a reference to edit his way through hell and
           8    back to the Bitcoin code in C++, that would
           9    undermine your opinion, wouldn't it?
          10                   MS. MARKOE:       Objection.
          11            A.     That's not what the document says.
          12            Q.     I understand.        I'm asking you to
          13    make an assumption.           I don't agree with you,
          14    that's not what the document says, for the
          15    record, but I understand your position is
          16    that's not what the document says.
          17                   I'm asking you to assume if the
          18    document was referring to the C++ code, that
          19    would undermine your opinion, right?
          20                   MS. MARKOE:       Objection.
          21            A.     It would undermine my opinion
          22    because the materials I reviewed informed my
          23    opinion.
          24            Q.     So you would just -- how would you
          25    explain the fact Dave was able to edit his




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